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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

FORREST EVANS,
ERNESTINE HODGE, and
RAPIDO MVD SERVICES,

                Plaintiffs,

v.                                                                   No. 2:20-cv-00874-KRS

MARGARET WILLIAMS, et al.

                Defendants.

 MEMORANDUM OPINION AND ORDER GRANTING EXTENSION OF TIME AND
            DENYING MOTION TO APPOINT COUNSEL

         THIS MATTER comes before the Court on pro se Plaintiffs’ Motions for an extension of

time to respond to the Order to Show Cause (Docs. 6, 8) and Plaintiffs’ Motions to appoint counsel

(Docs. 5, 7).

         Plaintiffs filed a Complaint asserting claims of discrimination based on “race, age, mental

disability,” “harassment,” and “equal protection” pursuant to 42 U.S.C. § 1983 against 22

Defendants. The Court notified Plaintiffs that many of their causes of action failed to state claims

upon which relief can be granted and that many of Plaintiffs’ claims appeared to be barred by the

statute of limitations. See Order to Show Cause, Doc. 4, filed September 23, 2020. The Court

ordered Plaintiffs to either: (i) show cause why the Court should not dismiss Plaintiffs’ federal-

law claims for the reasons stated in the Order to Show Cause; or (ii) file an amended complaint.

The Court grants Plaintiffs’ Motions for an additional 20 days to respond to the Order to Show

Cause.

         Plaintiffs also request that the Court appoint counsel to represent them in this case.

Plaintiffs state that they have made a diligent effort to employ counsel, but that none of the 13
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attorneys they contacted agreed to represent them. The Court denies Plaintiffs’ Motions to appoint

counsel. “[C]ivil litigants have no right to counsel.” Witmer v. Grady County Jail, 483 Fed.Appx.

458, 462 (10th Cir. 2012). Furthermore, Plaintiffs have not cited, and the Court has not found, any

legal authority which would allow the Court to appoint counsel in this case. The Court refers

Plaintiffs to the District of New Mexico’s Guide for Pro Se Litigants (November 2019) which, on

page 6, lists resources for legal representation. The Guide for Pro Se Litigants is available on the

Court’s website: www.nmd.uscourts.gov.

       IT IS ORDERED that:

       (i)     Plaintiff Evans’s Motion Requesting Extension of Time to Show Cause, Doc. 6,

               filed October 8, 2020, is GRANTED.

       (ii)    Plaintiff Hodge’s Motion Requesting Extension of Time to Show Cause, Doc. 8,

               filed October 8, 2020, is GRANTED.

       (iii)   Plaintiff Evans’s Motion Requesting Appointment of Counsel, Doc. 5, filed

               October 8, 2020, is DENIED.

       (iv)    Plaintiff Hodge’s Motion Requesting Appointment of Counsel, Doc. 7, filed

               October 8, 2020, is DENIED.




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                                              KEVIN R. SWEAZEA
                                              UNITED STATES MAGISTRATE JUDGE




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